Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 1 of 33

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SUSHOVAN HUSSAIN, - CASE NO.

Petitioner,

V.

RACHEL THOMPSON, Warden of : Emergency Petition for Writ of Habeas
Federal Correctional Institution : Corpus, Injunctive and Declaratory
Allenwood Low; MICHAEL - Relief

CARVAJAL, Director of the Federal

Bureau of Prisons; MERRICK.

GARLAND, Attorney General of the
United States of America, in their : IMMEDIATE RELIEF SOUGHT

official capacities,

Respondents.

 

PETITIONER SUSHOVAN HUSSAIN’S
HABEAS CORPUS PETITION
PURSUANT TO 28 USC § 2241

 

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 2 of 33

 

TABLE OF CONTENTS
Page
I. INTRODUCTION 1.0... .cccccccccsscssscessecnsecsecssccessesseceaecsenessseceneeseaesseeeeaeseneeneceseess 1
Th. APPLICABLE LAW. .......ccccccsscccscccsssscsssscesscscssessecessccesseecesteescesesscaessccessscneee 5
A. Habeas Corpus REVICW .....ccccesccceesssesceceneeeeseecssaeessseasesscenssecesusonesones 5
B. CARES Act, Attorney General Barr’s Memo .0........e eee eeeeseeeeseeteneeeeees 6
C. Strict Scrutiny... cece eeeccecessceceseeesseesessceesssseeeeeeaaeeseccaacecsasenseeeeenaees 8
It. THIS COURT HAS AUTHORITY TO REVIEW PETITIONER’S
HABEAS CORPUS........cccccccsscsssscesssessssesssesseesscecsnecceneeesnaesesseeessecssessneeeeaees 9
IV. FACTUAL & PROCEDURAL BACKGROUND/PARTIES .......cccccccssessees 9
Vi. = ARGUMENT 0. .cccceccccssscsssescescssecestecsccnscessesesesaeessaesnssecaeescseesasessacsseeesesensens 12
A. EXHAUSTION OF ADMINISTRATIVE REMEDIEG.............0:0000 12
B. RESPONDENTS’ DETERMINATION, ON THE BASIS OF
NATIONAL ORIGIN,TO 1). DENY SAFE HARBOR FROM
THE COVID-19 PANDEMIC TO HUSSAIN, A MEDICALLY
VULNERABLE INMATE, WHILE OFFERING SAFE
HARBOR TO SIMILARLY SITUATED U.S. CITIZEN
INMATES; AND 2). IMPOSE IMPERMISSIBLE AND
PUNITIVE STANDARDS IN THE EXECUTION OF
HUSSAIN’S SENTENCE THEREBY INCARCERATING
HUSSAIN LONGER THAN SIMILARLY SITUATED U.S.
CITIZENS, IS DISCRIMINATORY AND IN VIOLATION
OF THE CONSTITUTION. 0.0... cccccccssscsssessesssecsseesseeesseseeesseesseeaeens 13
VI. LEGAL AUTHORITY FOR PRO SE PETITIONER ........ccccccccsscsseeessesseeee 26
VIL. RELIEF REQUESTED ...ccccccccssceccsessocssssucssseccsuscssecessessuscrucssuccsuesssnssssecesecen 26

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 3 of 33

 

TABLE OF AUTHORITIES
Page(s)

Federal Cases
A.H. by Handling v. Minersville Area School District,

290 F. Supp. 3d 321 (M.D. Pa. 2017)... eeeeceteeeees peceeecececneeceneceuscesseeeseees 9
Abdul-Akbar v. McKelvie,

239 F 3d. 307 (Bd Cir. 2001) ooo ee cececsessesecessssesssssssscsssscssscssesseeesseesrenseneeees 13
Acosta v. Wolf,

No. 20-2528, 2020 WL 3077098 (E.D. Pa. June 10, 2020) eee eeseeseeeenees 8
ASAH v. New Jersey Dept. of Education,

330 F. Supp. 3d 975 (2018) oon. ceecccsceeesectsesessesscssssscssesesseseseeseecseeseessseeeeseeeas 8
Barden v. Keohane,

921 F. 2d 476 (3d Cir. 1991) ee eeeseeeeee esustessesecessseceusececacesaseceeeencsceoesens 9
Bennett v. Unites States,

2000 U.S. Dist. LEXTS 66409 (S.D. Ga 2006)... eeeeeesceeseeteteceeseeeeeeeeees 24, 25
Bluebeard’s Castle Hotel v. Gov’t of Virgin Islands, Dep’t of Lab.,

786 F.2d 168 (3d Cir. 1986) .o.ceeceeeecccsececesccsessseceeeesecsssssneesascesecsescessesccsssesssaseees 8

_ Bradshaw v. Carlson,

682 F. 2d 1050 (3d Cir. 1981) woe ceecccseesesceceeeeseeesscceseeesseecssneceaeeeseeesseceeseaeens 12
Estelle v. Gamble,

429 U.S. 97 (1976) ..cececccsseescesceeccescceeceeseeseesecseesacesaeeseesecesseseccseceeeeseseeesensosaeeeseees 26
Gallegos-Hernandez v. United States,

688 F. 3d 190 (Sth Cir, 2012) eee ceecscesecseecsscseessccsesessscssecssaceaasseseseeeneaaoes 20
Hughes v. Rowe,

4A9 U.S. 5 (1980) eee ccscccscesscccneeeenecrsnecsecsseceaecsecsaeseseeeseecseesesseesesaecsseeesesuseuaons 26
Leamer v. Fauver,

288 F. 3d 532 (3d Cir. 2002) oo. ceeccescceccscccsecsecseeesseseeessesaecsssonssceaseseaeeeceaseseesseass 5
Lyons v. U.S. Marshalls,

840 F. 2d 202 (3d Cir. 1988) oe eee cscseessesscssecescressersesssenseessssssessseesseseesensees 13

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 4 of 33

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ALI US. 475 (1973) ...ccccccscscsstccssccsssccecscecesaceesaecssaeeessesesaeeeesceseaaecesaeeeaseseeees seaseseaes 5
Rodriguez v. Copenhaver,

823 F. 3d 1238 (Oth Cir. 2016) oo. cseesccesscesseeessuecsseeeenecssaasesseeeseeeseaeeenes 6,9
Ruiz-Loera v. United States,

2000 U.S. Dist. LEXIS 22795 (D. Utah June 23, 2000) .00.. cee ceeceetereseeereeenees 25
Schumacher v. Nix,

965 F.2d 1262 (3d Cir, 1992) on cecsccsssccssccestsceseecsescessseessacecesncesssesesensssesensaenes 8
Sioux City Bridge Co. v. Dakota County, Neb.,

260 U.S. 441 (1923) oo eecccsssecessneceessseccsssacccsseecessuacesseeeeeseaeeeesscaeecensaseesseeseneaaees 14
Sunday Lake Iron Co. v. Wakefield TP.,

2QAT U.S. 350 (1918)... eccsceseccecsececesseececcessecceseeescessoceessceesseecesseeeneeesaneeenseseaes 14
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990 F 2d 745 (3d Cir. 1993), cert. denied, 510 U.S. 920 (1993)... cceceseeeseees 5
Vasquez v. Strada,

684 F. 3d 431 (Bd Cir. 2012) occ ceeecccsscesseeeseceeseessececeasessaseessseseneesesseeseeeeass 9
Village of Arlington Heights v. Metropolitan Housing Development

Corp.,

A429 U.S. 252 (1977) .ecccecccccssccesscccesesececesseccesacecesaeeeseneesecseeeesaeeessseaaeeeesneasenseeneaeees 8
Woodall v. Federal Bureau of Prisons,

432 F.3d. 235 (3d Cir. 2005) won. ceecsccsssccesscessessssessesesssecsesseessecesseeeesaeecsecesseeees 5
Federal Statutes
5 U.S.C.§ 703 .ccecccccssccsseccssscesccssnscesscossceescatessneesseesssecesssesssseseeesscesensecceesscessecesteessees 5
18 U.S.C. § 3553 vcccecccsessssecccsuesssseesesuesssecssussssuecssucssecesuesesasessavessuscssucsssesssvecessecsesees 17
18 U.S.C. § 3621 occ ccsssccesccneesseecssceceasensccssccsaeesaeeesecseseeeececasessaecsseceseusasenseeseenes 5
18 U.S.C. § 3622 occ ccccsccssccssesseesseceessessesssscsseesstesseessssseessceseaseseeesssenseesseesssesescars 5
18 U.S.C. § 3623.00... sacseneseceeeseneaeseseneaeseaesesesesnensaeaessaesessseseneessensseessessenesesseseeeees 5
18 U.S.C. § 3624 ooo eccccccccscsscesssessceesceecesteessssessaeessaeessacssasssensesenesesseeceseecessesesseesses 5

3

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 -Page 5 of 33

18 U.S.C. § 3625 vcccccssececccsssecssccersssesseccessssessesssssessesssusecssssssssecsssusesssssssssssesssssveeesseeen 5
18 U.S.C. § 3626 cceccccscecsccssssessscsssssesssssesssssvsssssssseseesssseeesssssssesssssneeeeeesen esesanseeteceesaee 5
QB U.S.C. § 2241 cceecccssseesccssseessccesssseesecsssssssessssssssssessssnesecssssuecssssssesecssssseeseecesssneeess 1,5
QB U.S.C. § 2243 vcrcecccsseccscessssccsccsssssvevsccssssssesssssssssessssssetsssessseesssssessesssssuessessssesseesss 26

Constitutional Provisions
U.S. Const. Article V ....cccccccccsssssccessescccessnecccessseeeceecesscsnseceseesssaeseeeeeseaeees 13, 17, 24
U.S. Const. Article XUV ............cccscesecccccccccssececcccecscocessscescccecescccseceesesseuacsecssvseseansens 13

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 6 of 33

Petitioner Pro Se Sushovan Hussain (“Hussain”) respectfully submits this
petition for habeas corpus relief and will move this Court pursuant to 28 U.S.C.S
2241, in light of the prejudice suffered, the U.S. Constitution, and all applicable
law, for a writ of habeas corpus granting his release from detention that violates his
rights under the United States Constitution, or any other relief which this Court

may deem just, necessary or appropriate.

I. INTRODUCTION

For decades, the Bureau of Prisons (“BOP”) has engaged in discriminatory
practices and abused its discretionary authority against foreign nationals. The
BOP’s discriminatory practices against Hussain and every foreign national, based
solely on national origin, denies home confinement to medically vulnerable
inmates, notwithstanding the CARES Act enacted by the U.S. Congress and the
Attorney General’s memo dated April 3, 2020 pursuant to the CARES Act, and
denies certain rights that result in increased incarceration abridging Hussain’s (and
other similarly situated inmates’) Constitutional rights. The discriminatory
practices render the execution of the sentence on Hussain unconstitutional because
they impose a more punitive standard on Hussain than other similarly situated U.S.
citizen inmates based solely on his national origin. The U.S. Constitution forbids
discrimination and the imposition of a more punitive standard on the basis of

national origin. Yet the BOP decides who among the medically vulnerable inmates

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 7 of 33

should receive reprieve from COVID-19 and who should not, based on his/her
national origin.

The discriminatory practices are established when non-U.S. citizens,
including Hussain, are issued an immigration detainer by Immigration and
Customs Enforcement (“ICE”) on entry to the prison system. The BOP classifies
Hussain and other non-U.S. citizen inmates with ICE Immigration Detainers a
“Deportable Alien” (defined by the BOP as “[a] male or female inmate who is not
a citizen of the United States”). The BOP, on receipt of the ICE Immigration
Detainer, automatically assigns a Public Safety Factor (“PSF’’) to the “Deportable
Alien” to determine the inmate’s security designation and custody classification.

The blanket application of a PSF to Hussain and to all non-citizen inmates
creates a class based on national origin and imposes a more punitive standard on
that class - which is constitutionally impermissible. The imposition of a PSF to
Hussain deprives Hussain and the non-citizen class certain rights afforded to other
class of inmates. For example, it deprives Hussain and other non-citizen class of
the ability to reduce their term of incarceration, while affording that same right to
the U.S. citizen class of inmates. Other rights which Hussain and the non-citizen
class are deprived of include early release to halfway house or home confinement
or Elderly Offender Early Release to Home Confinement and access to certain

rehabilitative programs such as the Residential Drug and Alcohol Program

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 8 of 33

(“RDAP”). The BOP violates Hussain’s rights of equal protection and rights under
the CARES Act by applying a PSF to Hussain based on his national origin, where
Hussain would otherwise qualify for home confinement and early release.

During the COVID-19 pandemic, this discrimination has resulted in (and
continues to result in) the BOP only affording medically vulnerable U.S. citizen
inmates the ability to transfer to the safe harbor of home confinement while
denying Hussain and other similarly situated non-U.S. citizen inmates the same,
thereby exposing Hussain and other non-US. citizens to potential illness and death
in prison. This discrimination is in tension with the Attorney General’s official
instruction to “include all at-risk immates - not only those who were previously
eligible for transfer” to home confinement.

Discriminating against foreign-national prisoners also undermines the
rehabilitative justification for the prison system as a whole. As the late Judge
Weinstein of the Eastern District of New York explained, the BOP’s disparate
treatment of undocumented prisoners means that “[r]ehabilitative concerns weigh
especially strongly against a term of imprisonment where the defendant is subject
to deportation upon completion of a sentence.” See Ex. 1.

By imposing the same punitive standards on Hussain and on the non-citizen
class (whose detainer is based on their national origin) as other inmates (whose

detainers are based solely on their conduct), these practices ignore the BOP’s own

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 9 of 33

policy statements, punishing Hussain and the non-citizen class by imposing
constitutionally impermissible standard on them based solely on their national
origin. This impermissible standard discriminates and renders the execution of
Hussain’s sentence unconstitutional. This BOP practice intentionally and
deliberately violates the Constitutional rights of Hussain and the non-citizen class.
Petitioner Hussain suffers from asthma “requiring two inhalers to help
control both chronic and acute exacerbations of [his] condition”, see Ex. 2, placing
him at an increased risk of severe illness and possibly death from COVID-19,
according to the Center for Disease Control and Prevention (“CDC”) See CDC,
People with Certain Medical Conditions, available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html. Respondents denied Hussain’s request for home
confinement on the basis that Hussain was “ineligible” due to an ICE Immigration
Detainer which is issued on the basis of his national origin, whereas Respondents
have sent to home confinement 18,112 inmates since the pandemic started to
December 2020. See Memorandum from the Office of the Attorney General,
January 15, 2021. The BOP discriminates against Hussain punishing him where his
liberty interest is his health and safety and potentially his life. Furthermore, the
BOP’s application of a PSF to Hussain, based on his national origin, imposes an

additional punishment by depriving him of the ability to reduce his term of

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 10 of 33

incarceration while affording similarly situated U.S. citizen inmates the same
ability.

For the reasons summarized above, Hussain respectfully expounds below on
the CARES Act, Constitutional Rights violation, prejudice suffered and
respondents’ abuse of statutory authorities. Hussain respectfully seeks relief from
the Court to grant his requests in its entirety.

I. APPLICABLE LAW
A. Habeas Corpus Review

Under 28 U.S.C.S 2241, habeas corpus review “allows a federal prisoner to
challenge the ‘execution’ of his sentence.” Woodall v. Federal Bureau of Prisons,
432 F. 3d. 235, 241 (3d Cir. 2005). A habeas corpus petition may be brought by a
prisoner who seeks to challenge either the fact or the duration of his confinement
in prison. Presier v. Rodriguez, 411 U.S. 475 (1973); Tedford v. Hepting, 990 F 2d
745, 748 (3d Cir. 1993), cert. denied, 510 U.S. 920 (1993). Federal habeas relief is
available only “where the deprivation of rights is such that it necessarily impacts
the fact or length of detention.” Leamer v. Fauver, 288 F. 3d 532, 540 (3d Cir.
2002). Under the Administrative Procedure Act (APA), habeas corpus may be used
to challenge the BOP actions. See 5 U.S.C.§ 703. Under 18 U.S.C. § 3625, APA
judicial review does not apply to “any determination, decision, or order” made

under 18 U.S.C. §§ 3621-3626. A Court’s review is limited to whether the BOP

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 11 of 33

Director abused his discretion, although “it does have jurisdiction to decide
whether the [BOP] acted contrary to established federal law, violated the
Constitution, or exceeded its statutory authority....” See e.g., Rodriguez v.
Copenhaver, 823 F. 3d 1238, 1242 (9th Cir. 2016).

B. CARES Act, Attorney General Barr’s memo

In March 2020, Congress enacted the Coronavirus Aid, Relief, and
Economic Security Act (“CARES Act”). The CARES Acct lifted the existing home
confinement requirements (i.e., 10 percent of sentence or 6 months) if the Attorney
General made an emergency-conditions finding. In April 2020, the Attorney
General endorsed a memo that made the emergency-condition finding and
expanded home-confinement eligibility. See Memorandum for Director of Bureau
of Prisons (April 3, 2020), available at
https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf)
(“April 2020 AG memo”). As a result the existing requirements (i. €., 10% of
sentence or 6 months) went away. The April 3 memo followed the Attorney
General’s prior March 26 memo (available at
https://www.justice.gov/file/126273 1/download), which stated that “there are some
at-risk inmates who are non-violent and pose minimal likelihood of recidivism and
who might be safer serving their sentence in home confinement rather than in BOP

facilities.” The Attorney General directed the Bureau of Prisons to “prioritize the

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 12 of 33

use of your various statutory authorities to grant home confinement for inmates
seeking transfer in connection with the ongoing COVID-19 pandemic.”

Attorney General Barr’s directive gave a non-exhaustive list of discretionary
factors to be used for home confinement. The Attorney General directed the BOP
to consider the “age and vulnerability of the inmate to COVID-19, in accordance
with the CDC guidelines.” The other factors in the memo included: (1) the security
level of the facility currently holding the inmate, with priority given to low security
and minimum security facilities; (2) the inmate’s prison conduct, especially
involvement in violent or gang-related prison activity; (3) the inmate’s PATTERN
(the Prisoner Assessment Tool Targeting Estimated Risk and Need) score; (4)
whether the inmate has a re-entry plan that will prevent recidivism and maximize
public safety; (5) the inmate’s crime of conviction and assessment of the danger
posed by the inmate to the public.

In using the CARES Act to expand home confinement availability, the
Attorney General’s April 3, 2020 memo admitted that the Bureau of Prisons was
“experiencing significant levels of infection at several of our facilities...” The
memo acknowledged the BOP’s duty to protect inmates and told the BOP to
“[mjove with dispatch in using home confinement, where appropriate, to move
vulnerable inmates out of the institutions.” The Attorney General told the BOP to

“begin implementing this directive immediately” and “as quickly as possible.”

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 13 of 33

The Attorney General went on to authorize home confinement transfer “even
if electronic monitoring is not available, so long as BOP determines in every such
instance that doing so is appropriate and consistent with our obligation to protect
public safety.”

C. = Strict Scrutiny

“Discriminatory intent can be inferred from the fact of disparate treatment of
members of different races and/or national origins in similar factual
circumstances.” Bluebeard’s Castle Hotel v. Gov't of Virgin Islands, Dep’t of Lab.,
786 F.2d 168, 171 (3d Cir. 1986) (citing Village of Arlington Heights v.
Metropolitan Housing Development Corp., 429 U.S. 252, 265-66 (1977)).

“Strict scrutiny applies to classifications based on race, national origin, or
religion.” Acosta v. Wolf, No. 20-2528, 2020 WL 3077098, at *4 (E.D. Pa. June
10, 2020).

“[A] classification [that] trammels fundamental personal rights or is drawn
upon inherently suspect distinctions such as race, religion, or alienage...must meet
the strict scrutiny standard, under which a law must be narrowly tailored to further
a compelling government interest.” ASAH v. New Jersey Dept. of Education, 330
F. Supp. 3d 975, 1007-08 (2018) (citing Schumacher v. Nix, 965 F.2d 1262, 1266

(3d Cir. 1992) (internal quotations omitted) (alteration in original).

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 14 of 33

Laws that use classifications based on “race, alienage, or national origin” are
subject to “strict scrutiny and will be sustained only if [it is] suitably tailored to
serve a compelling state interest.” See A.H. by Handling v. Minersville Area School
District, 290 F. Supp. 3d 321, 331 (M.D. Pa. 2017).

i. THIS COURT HAS AUTHORITY TO REVIEW PETITIONER’S
HABEAS CORPUS

Judicial review is necessary where respondents have abused their discretion
and violated Petitioner’s Constitutional rights. See Vasquez v. Strada, 684 F. 3d
431, 434 Gd Cir. 2012) (citing Barden v. Keohane, 921 F. 2d 476, 478 (3d Cir.
1991); see also Rodriguez, 823 F, 3d at 1242 (“Although a district court has no
jurisdiction over discretionary designation decisions, it does have jurisdiction to
decide whether the [BOP] acted contrary to established federal law, violated the
Constitution, or exceeded its statutory authority”).

Hussain contends the Respondents have abused their discretionary powers
by imposing a standard that is discriminatory and unconstitutional based solely on
his national origin, rather than on his offense conduct - thus violating his
Constitutional rights.

IV. FACTUAL & PROCEDURAL BACKGROUND/PARTIES

Petitioner Sushovan Hussain, a citizen of the United Kingdom, was
convicted of non-violent fraud related offenses on April 30, 2018. He was

sentenced to a 60-month term of imprisonment on May 13, 2019. For thirty (30)

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 15 of 33

months (May 2018 to October 2020) - prior to self-reporting at the Allenwood
Correctional facilities in Pennsylvania - Hussain was confined with electronic
monitoring and ordered to stay within the boundaries of the Northern District of
California where he was under the jurisdiction of pre-trial services.

Hussain is a fifty-seven (57) year old, non-violent, first-time offender who
poses no danger to the community. As his sentencing judge, Judge Breyer,
explained: “I would find by clear and convincing evidence that he does not pose a
danger to the community.” Sentencing Tr. (May 13, 2019) at 72:8-10. The PSR
concurred: “[Hussain] is not viewed [] a danger to the community.” Presentence
Investigation Report (“PSR”) at 3. Hussain is also very unlikely to recidivate.
Judge Breyer made clear that Hussain is committed to living a law-abiding life: “I
can’t believe you would ever go out and commit another criminal offense, I just
don’t believe it.” See Sentencing Tr. (May 13, 2019) at 50:18-22. Hussain’s
recidivism risk level has been determined by the BOP to be minimum as
demonstrated by his minimum PATTERN (Prisoner Assessment Tool Targeting
Estimated Risk and Need) score. See Ex.3.

To date Hussain has been incarcerated for eleven (11) months. He self-
reported, spending 72 days in solitary confinement for quarantine at Allenwood
Penitentiary before being moved to Allenwood Low. Hussain suffers from asthma

and high cholesterol. See Ex 2. Yet Hussain was placed at a unit in Allenwood

10

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 16 of 33

Low where 114 out of 116 inmates tested positive for COVID-19 just a few weeks
before his placement. According to the CDC, Hussain’s asthma places him as an
increased risk of severe illness and possible death from COVID-19. Hussain’s
placement at a unit with almost 100% of inmates being infected with COVID-19
exposed him to serious illness or death given his CDC endorsed medical
vulnerabilities.

Allenwood Low has been on “strict modified operations” since the time
Hussain was transferred to his unit and, as of August 30, 2021, Allenwood Low
was placed on “Level 3 Intense Modifications” due to COVID-19. See
https://www.bop.gov/coronavirus/covid_19modified operations guide.jsp;
https://www.bop.gov/coronavirus/covid19_status.jsp).

Despite the serious COVID-19 influenced lockdown, Hussain has completed
the Adult Continuing (ACE) packets and First Step Act Courses that are available.
However, unlike U.S. citizen inmates, Hussain receives no earned time credits for
courses because of his national origin. Hussain has requested - and has been denied
- permission to view his BP-337 Form (“Inmate Load and Security Designation”).
An “Immigration Detainer - Notice of Action” was issued by the Department of
Homeland Security on November 9, 2020. A corrected copy of the notice was

provided to Hussain on April 5, 2021. See Ex. 4.

11

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 17 of 33

Vv. ARGUMENT
A. EXHAUSTION OF ADMINISTRATIVE REMEDIES

On May 17, 2021, the Warden of Allenwood responded to Hussain’s request
for clarification of her January 20, 2021 refusal of Hussain’s eligibility to be
considered for home confinement, writing:

“After a comprehensive review of your circumstances, in accordance

with the Attorney General’s criteria, you are not eligible for Home

Confinement Placement. You currently have a detainer filed by

Immigration and Customs Enforcement (ICE). In addition, you have
served less than 50% of your sentence.”

See Ex. 5.

Nothing more is required since any further attempts to exhaust
administrative remedies will be met with the exact same results. In any case, the
BOP’s discrimination that renders the execution of Hussain’s sentence
unconstitutional go beyond the denial of eligibility for home confinement; they
impose impermissible and punitive standards on Hussain. The BOP’s
administrative procedure, having twice denied eligibility for home confinement, is
clearly inadequate to prevent irreparable harm to Hussain.

Furthermore, the Third Circuit has held that “[t]he exhaustion doctrine will
not be applied... when none of the basic goals (of the doctrine) would be served.”
Bradshaw v. Carlson, 682 F.2d 1050, 1052 (3d Cir. 1981) (internal quotation
marks omitted). For example, exhaustion may be excused when “Jit] would be

futile, if the actions of the agency clearly and unambiguously violate statutory or
12

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 18 of 33

constitutional rights, or if the administrative procedure is clearly shown to be

inadequate to prevent irreparable injury.” Lyons v. U.S. Marshalls, 840 F. 2d 202,

205 (3d Cir. 1988).

B. RESPONDENTS’ DETERMINATION, ON THE BASIS OF

NATIONAL ORIGIN,TO 1). DENY SAFE HARBOR FROM
THE COVID-19 PANDEMIC TO HUSSAIN, A MEDICALLY
VULNERABLE INMATE, WHILE OFFERING SAFE HARBOR
TO SIMILARLY SITUATED U.S. CITIZEN INMATES; AND
2). IMPOSE IMPERMISSIBLE AND PUNITIVE STANDARDS
IN THE EXECUTION OF HUSSAIN’S SENTENCE THEREBY
INCARCERATING HUSSAIN LONGER THAN SIMILARLY

SITUATED U.S. CITIZENS, IS DISCRIMINATORY AND IN
VIOLATION OF THE CONSTITUTION.

DISCUSSION

The Fifth Amendment of the U.S. Constitution confers an equal protection
right to all persons within the jurisdiction of the United States. See Abdul-Akbar v.
McKelvie, 239 F 3d. 307, 316-17 (3d Cir. 2001) (en banc) (“Although the Fifth
Amendment contains no Equal Protection Clause, ... Fifth Amendment equal
protection claims are examined under the same principles that apply to such claims
under the Fourteenth Amendment.”) (internal citations omitted). The U.S.
Supreme Court has clarified that “[t]he purpose of the [E]qual [P]rotection
[Clause of the Fourteenth Amendment is to secure every person within the state’s
jurisdiction against intentional and arbitrary discrimination, whether occasioned by

express terms of a statute or by its improper execution through duly constituted

13

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 19 of 33

agents.” Sioux City Bridge Co. v. Dakota County, Neb., 260 U.S. 441, 445 (1923)
(quoting Sunday Lake Iron Co. v. Wakefield TP., 247 U.S. 350, 352 (1918)).

It is indisputable that discrimination should not be tolerated from any
government agency because it violates the U.S. Constitution, laws and democracy.
The BOP’s own rules require that all inmates are to be treated equally:

“Bureau staff shall not discriminate against inmates on the basis of

race, religion, national origin, sex, disability, or political belief. This

includes the making of administrative decisions and providing access
to work, housing and programs”.

See BOP Program Statement 1040.04 (“PS 1040.04’) (emphasis added).

The Warden of each prison is similarly directed to “review and, as
necessary, establish local procedures to ensure that inmates are provided essential
equality of opportunity in being considered for various program options, work
assignments, and decisions concerning classification status.” Jd. at 2.

In denying Hussain - who suffers from asthma (one of the medical
vulnerabilities promulgated by the CDC) - eligibility to home confinement,
Hussain contends that he was treated differently by the BOP to other medically
vulnerable U.S. citizen inmates, and that Respondents have acted discriminatorily
and in violation of the U.S. Constitution.

In March 2020, the U.S. Congress enacted the CARES Act and on April 3,
2020, the Attorney General made an emergency declaration and issued a memo to
the Director of the Bureau of Prisons stating that all inmates with medical

14

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 20 of 33

vulnerabilities, as promulgated by the CDC, including those that did not qualify
under the pre-CARES Act, should be considered for home confinement as a safe
harbor from the pandemic, “your review should include all at-risk inmates not only
those who were previously eligible for transfer”. The memo added that “there are
some at risk inmates who are non-violent, and pose minimum likelihood of
recidivism who might be safer serving their sentence in home confinement rather
than in BOP facilities”.

Respondents’ action, to deny Hussain eligibility to home confinement, is in
tension with the Attorney General’s memo to include “all at-risk inmates” and the
CARES Act enacted by Congress. The memo, which authorized the BOP to
respond to Hussain’s request and expanded cohorts of inmates eligible for home
release, focused on the medical vulnerability of the inmates to COVID-19, not
their national origin. Respondents’ reason for denying Hussain eligibility for home
confinement was that Hussain had “a detainer filed by Immigration & Enforcement
(ICE).” The BOP has acted discriminatorily and in violation of the Attorney
General’s memo, the CARES Act and the U.S. Constitution which forbid
discrimination. The BOP’s discrimination against Hussain on the basis of his
national origin prejudices him where his liberty interest is his health and safety.
Yet since the COVID-19 pandemic started to December 2020, the BOP removed to

home confinement 18,112 U.S. citizen inmates.

15

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 21 of 33

The BOP supplemented the Attorney General’s memo and made its own
determination that it would only offer the safe harbor to U.S. citizen inmates while
leaving Hussain, a fifty-seven (57) year old, non-violent, with minimum likelihood
of recidivism, non U.S. citizen with medical vulnerability, incarcerated thereby
exposing him to serious illness or death. Such action is discriminatory and violates
the Constitution where Respondents decide to only protect U.S. citizen inmates
while denying and depriving Hussain and all other medically vulnerable non-U.S.
citizen inmates within their care the same safe harbor thereby leaving them in a
dangerous environment with COVID raging through prisons, even more
accentuated with the current virulent “Delta variant” of COVID-19. Despite
Hussain’s asthma, he was housed in a unit where almost 100% of the inmates had
tested positive for COVID, placing Hussain at extreme risk to his health.

The question asked of the Court is whether “Respondents, who are
responsible for the safety of all inmates within their custody/care, can selectively
afford safe harbor from a deadly virus to only the citizens of the country, while
denying and depriving other non-citizens the same safe harbor, solely on their
national origins?”

The BOP’s discriminatory practices, however, go well beyond the denial of
home confinement. The BOP’s current practices and policies intentionally

punishes Hussain and other non-U.S. citizens more than US. citizens, thus creating

16

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 22 of 33

disparities between inmates who are citizens of the United States and those who
are not. For instance, take two inmates - one a U.S. citizen and the other a non-
citizen - who are co-defendants in a first-time white-collar prosecution, and who
are sentenced to the same time of incarceration. Per current BOP policy and
practice, the U.S. citizen will be entitled to earn time credit to reduce his/her time
of incarceration by participating in First Step Act (FSA) recidivism reduction
programming including productive work such as UNICOR; Adult Continuing
Education (ACE) for more half-way house time and home confinement; and/or
Residential Drug and Alcohol Program (RDAP) to reduce his/her time of
incarceration by up-to a year. Hussain and other non-citizens will be entitled to no
benefit even if they partake in these programs thus punishing Hussain and other
non-citizens more harshly than the U.S. citizen based solely on their national origin
rather than offense behavior.

Hussain does not benefit from any rehabilitation programming making the
execution of his sentence unconstitutional given that current BOP policy and
practice is designed solely to punish Hussain more harshly by incarcerating him
without any benefit of rehabilitation. This practice and policy violates the true
intent of 18 U.S.C. § 3553 which governs the imposition of sentences by the
Courts, specifically the need to rehabilitate inmates as a reason for depriving them

of their Fifth Amendment right to liberty and subjecting them to servitude. The 18

17

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 23 of 33

U.S.C. § 3553 factors are not intended to be punitive but are intended to be
individualized for the purpose of rehabilitation. Thus, BOP’s policies and practices
towards Hussain are unacceptable and discriminatory, and require judicial
intervention to rectify the prejudice suffered and the Constitutional rights violated.
The BOP argues that home confinement and benefits to early release are
related to Hussain’s ICE Immigration Detainer and the consequent assignment of a
“Public Safety Factor” (“PSF”). The BOP’s policies and practices are, however,
discriminatory and an abuse of their statutory authorities.
The BOP identifies the following categories of detainers:
A - None
B - Disruptive Group (males only)
C - Greatest Severity Offense (males only)
F - Sex Offender
G - Threat to Government Officials
H - Deportable Alien
I- Sentence Length (males only)
K - Violent behavior
L- Serious escape
M - Prison Disturbance

N - Juvenile Violence

18

1747879.N3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 24 of 33

O - Serious Telephone Abuse
See Program Statement 5100.08 (“PS 5100.08”), Ch. 4, at 13, available at
https://www.bop.gov/policy/progstat/5100_008.pdf.

There are two classes of detainers, one that only applies to foreign nationals
arising out of national origins (H above) and the others which apply to all inmates
based on their conduct. The BOP rules clearly and unconditionally direct that the
two classes of detainers are separated as to how a PSF is to be applied. For the
purposes of security designation and custody classification, the BOP rules direct
the allocation of points for the “type of detainer.” Specifically for ICE detainers,
the BOP is directed that “no points will be awarded”, whereas points are awarded
for all other detainers. See BOP Forms BP 337 “Inmate Load and Security
Designation” and BP 338 “Custody Classification”.

By applying a blanket PSF to all inmates with detainers, when one detainer
is solely based on national origin, the BOP has created a class based on national
origin, from which prejudice is suffered thereby violating the U.S. Constitution.
The BOP attempts to obfuscate by citing flight risk as a result of the receipt of the
ICE Immigration Detainer and the consequent assignment of a PSF as the basis for
its decision to refuse home confinement and access to early release programs.

However, the BOP discriminates against Hussain for the following reasons:

19

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 25 of 33

First, the BOP ignores the fact that the ICE Immigration Detainer itself
explicitly directs the BOP to not discriminate: “This detainer arises from DHS
authorities and should not impact decisions about the alien’s bail, rehabilitation,
parole, release, diversion, custody classification, work, quarter assignments, or
other matters] .]” See DHS, Immigration Detainer - Notice of Action, available at
https://www.ice.gov/sites/default/files/documents/Document/2017/I-247A.pdf
(“Immigration Detainer’’).

The agency that issued the Immigration Detainer recognizes the need to
avoid discrimination on the basis of the detainer itself because the U.S.
Constitution explicitly and unilaterally forbids such discrimination. Yet the BOP
ignores this and proceeds to discriminate on the basis of national origin rather than
considering the inmate’s offense conduct (the basis on which PSFs are applied for
U.S. citizen inmates).

The BOP contends that Courts have consistently recognized that alien _
prisoners subject to an immigration detainer cannot show that exclusion from BOP
programs establishes an equal protection violation because alien prisoners, as an
identifiable group, are not treated differently from federal prisoners who are not
aliens. See e.g., Gallegos-Hernandez v. United States, 688 F. 3d 190, 195 (Sth Cir.

2012).

20

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 26 of 33

This is too narrow a view adopted by the BOP and the Courts. Immigration
Detainers are based on national origin, all other detainers are based on
“demonstrable conduct”. By defining the Immigration Detainer and all other
detainers in one category, the BOP imposes a more punitive standard and
incarcerates Hussain longer than similarly-situated U.S. citizen inmates because
Respondents deny and deprive Hussain of all possibilities of earning time credits to
reduce his term of incarceration. Such conduct violates the very bedrock of the
United States Constitution, laws and democracy, all of which seek to treat every
person within the United States territory equally, irrespective of their national
origins, race, sex or religion.

Second, the BOP abuses its discretionary authorities by applying a PSF to
Hussain and all non-citizen inmates with Immigration Detainers. The BOP does
not act in accordance with its own Program Statement 5100.08 that only where a
detainer is issued for an “offense conduct” BOP is required to apply a PSF. The
BOP’s rules require that a PSF is to be issued when “there are certain demonstrated
behaviors which require increased security measures to ensure the protection of
society”. See PS 5100.08, Ch 2, at 4. The BOP is further directed to base the
assignment of a PSF on “factual information regarding the inmate’s current

offense, sentence, criminal history or institutional behavior that requires additional

21

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 27 of 33

security measures be employed to ensure the safety and protection of the public.”
See id., Ch.5, at 7.

The Immigration Detainer does not describe any “offense conduct”. It
_ provides no information about “demonstrated behaviors” nor “any factual
information regarding the inmate’s current offense”. It is completely different to an
“offense behavior” detainer as it is issued only on the basis that “probable cause
exists that the subject is a removal alien”. The Immigration Detainer only requires
the BOP to “notify DHS as early as practicable... before the alien is released” and
to “[mJaintain custody of the alien for a period NOT TO EXCEED 48 HOURS
beyond the time when [he] would otherwise have been released from your custody
to allow DHS to assume custody.” See Immigration Detainer at 1. The ICE
Detainer therefore provides no basis for the application of a PSF to Hussain, and
by applying such a PSF the BOP has abused its statutory authorities.

The BOP is required to determine the seriousness of the detainer by
“enter[ing] the appropriate number of points that reflect the inmate’s detainer
status”. See PS 5100.08, Ch. 6, at 2. The BOP is explicitly directed that “no points
will be awarded for ICE detainers.” See id., Ch. 4, at 12. These directives reflect
the fact that the Immigration Detainer does not identify any offense behavior.

A further rule confirms that the BOP must apply a PSF based on careful

review, on the offense conduct and on demonstrated behaviors, not automatically

22

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 28 of 33

as the BOP does presently. Within the definition of Deportable Alien the BOP is
directed that a PSF “shall not be applied, or shall be removed when the U.S.
Immigration and Customs Enforcement (ICE) or the Executive Office for
Immigration review (EOIR) have determined that deportation proceedings are
unwarranted or there is a finding not to deport at the completion of deportation
proceedings.” Id., Ch. 5, at 9. There is no direction that a PSF shall be
automatically applied for all deportable aliens; the rule simply directs that where a
PSF has been applied (based on careful review, on demonstrated behaviors and on
the offense conduct), then that PSF will be removed when deportation status is
negatively determined.

The BOP’s rules direct that it must strictly review each Immigration
Detainer case carefully before applying a PSF: “each case will be carefully
reviewed to determine whether the PSF for Deportable Alien is applicable.” See
id., Ch. 4, at 12 and Ch. 6, at 3. The application of a PSF to an inmate with an
Immigration Detainer cannot be automatic. Yet, contrary to its own rules, the BOP
adopts a blanket policy of applying a PSF to Hussain and all non-U.S. citizens with
an Immigration Detainer. Being a non-U.S. must not be the basis for imposing a
PSF on Hussain.

The BOP has not reviewed Hussain’s case for the “relevant factual

information regarding the inmate’s current offense”. The BOP has not “carefully

23

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 29 of 33

reviewed to determine whether the PSF for Deportable Aliens is applicable” for
Hussain. Instead the BOP applies a blanket PSF to all Deportable Aliens. In
applying a PSF without following its own clear rules, a clear and intentional abuse
of its statutory authorities has occurred.

The result is that the BOP has imposed a more punitive standard on the
execution of Hussain’s sentence, in violation of the U.S. Constitution. Stated
another way, Respondents are not allowed to punish Hussain more harshly than
U.S. citizen inmates solely based on his national origin. But current BOP policies
and practices do precisely that.

Courts have adopted too narrow a view in accepting the BOP’s arguments as
being rational, ignoring its impact which incarcerates Hussain and non-US. citizen
inmates longer than other similarly situated U.S. citizen inmates. In Bennett v.
U.S., the Court held that:

“TThe Bureau] does not act in violation of Fifth Amendment equal

protection standards in providing programs for prisoners who have a

lawful right to remain in the country, whose rehabilitation is of

interest to this country... and whom Congress has an interest in

deterring from entering or returning ... There is no equal protection

violation in different treatment of aliens as to rehabilitation and other

programs. The United States may treat deportable aliens and citizens
differently. There is no primary interest in reformation of deportable

persons. That’s an interest of the country to which they may be
deported”

24

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 30 of 33

Bennett v. Unites States, 2000 U.S. Dist. LEXIS 66409, at *15-16 (S.D. Ga 2006)
(quoting Ruiz-Loera v. United States, 2000 U.S. Dist. LEXIS 22795, at *2 (D.
- Utah June 23, 2000)) (citations omitted).

The Court in Bennett ignores the actual discriminatory issue. It is
discrimination to incarcerate Hussain much longer than similarly situated U.S.
citizen inmates, based solely on his national origins. Discriminatory practices
based on the national origins of an individual is in tension with the Equal
Protection rights enshrined in the Constitution. In the criminal justice system
citizenship should be irrelevant to an inmate’s treatment. Hussain’s right to liberty
and safe harbor from COVID-19 as a medically vulnerable inmate is violated by
Respondents who discriminate and intentionally abuse their statutory authorities.

The courts have ignored the true issue here, that such discriminatory practice
by respondents is intended to impose more punitive standard on the execution of
sentence for Hussain and non-citizen inmates which is in violation of the U.S.
Constitution. Stated another way, Respondents are not allowed to punish Hussain
more harshly than US. citizens based on his national origin - but current BOP
policy and practices do precisely that, in tension with their own rules. Hussain
claims Respondents violate his equal protection rights and rights under the CARES

Act in applying a PSF to him on the basis of his national origin, where Hussain

25

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 31 of 33

would otherwise qualify for home confinement and early release. There is no
rationale to discriminate where Hussain’s life and safety in under threat.

Vi. LEGAL AUTHORITY FOR PRO SE PETITIONER

Hussain is a pro se petitioner, therefore his pleadings are generally liberally
construed and held to a less stringent standard than pleading drafted by an attorney.
See Hughes v. Rowe, 449 U.S. 5, 9 (1980) (per curiam); Estelle v. Gamble, 429
U.S. 97 (1976).

VII. RELIEF REQUESTED
WHEREFORE, Petitioner Sushovan Hussain, BOP register Number 24067-

111, respectfully requests that this Court order the following:
A. Pursuant to 28 U.S.C.S 2243 and issue forthwith either:
1. A Temporary Restraining Order, Preliminary Injunction,
Permanent Injunction and /or a Writ of habeas corpus requiring
respondents to release Petitioner within twenty-four (24) hours;
OR
2. In the alternative, an order that Respondents show cause within
at most three (3) days why such a writ should not issue.
B. If immediate release is not granted on the basis of this petition alone,
then expedited review of the petition, including oral arguments, via

telephonic or video conference if necessary.

26

1747879.v3
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 32 of 33

C. Any further relief this Court deems just, necessary, or appropriate.

Dated: September ZO , 2021

1747879.v3

: /s/ Sushovan

Respectfully submitted,
SUSHOVAN HUSSAIN

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Hussain

 

 

SUSHOVAN HUSSAIN

Petitioner Pro Se

27
Case 3:21-cv-01635-MEM-DB Document 1-1 Filed 09/22/21 Page 33 of 33

     

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